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                      IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 BENJAMIN RANFELD,                          )
                                            )
        Plaintiff,                          )
                                            )
      v.                                    )      CASE NO. 1:20-cv-03253-TWP-MJD
 BALL STATE UNIVERSITY,                     )
 GEOFFREY S. MEARNS,                        )
 SUSANA RIVERA-MILLS AND                    )
 TRUDI WEYERMANN,                           )
      Defendants.                           )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        The Plaintiff, Benjamin Ranfeld, by counsel, and the Defendants, Ball State

 University, Geoffrey S. Mearns, Susana Rivera-Mills, and Trudi Weyermann, by counsel,

 pursuant to Rule 41 of the Federal Rules of Civil Procedure, hereby stipulate and agree

 that this case be dismissed, in its entirety, with prejudice, with the parties responsible for

 their own attorneys’ fees and costs.

 Respectfully submitted,

 s/ Jason P. Cleveland                             s/ Scott Shockley____________
 Jason P. Cleveland, #24126-53                     Scott Shockley #2153-18
 Eric J. Hartz, #29676-49                          DEFUR VORAN LLP
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 Attorneys for Plaintiff
                                                   Attorneys for Defendants
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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2021, a copy of the foregoing document was filed
 with the Court via its electronic case filing system, which will serve this filing on all
 counsel of record.

                                                s/ Jason P. Cleveland
                                                Jason P. Cleveland




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